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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF KENTUCKY
                             LOUISVILLE DIVISION


ANNE M. NEWBOLD,                       )
                                       )
           Plaintiff,                  )                     3:19-cv-32-RGJ
                                                   Case No. _____________________
                                       )
v.                                     )           Electronically Filed
                                       )
HALSTED FINANCIAL, LLC.,               )
                                       )
    Serve: Corporation Service Company )
           421 West Main Street        )
           Frankfort, Kentucky 40601   )
                                       )
and                                    )
                                       )
WEINBERG MEDIATION GROUP, LLC., )
                                       )
    Serve: Registered Agent            )
           Jerry Verhagen              )
           3380 Sheridan Drive         )
           Suite 133                   )
           Amherst, New York 14226     )
and                                    )
                                       )
COMENITY BANK,                         )
                                       )
    Serve: Corporation Trust Company )
           Corporation Trust Center    )
           1209 Orange Street          )
           Wilmington, Delaware 19801 )
                                       )
           Defendants.                 )

                                         *****
                                       COMPLAINT

      1.     This is an action for actual and statutory damages and injunctive relief brought by

Anne M. Newbold against Defendants Halsted Financial, LLC., Weinberg Mediation Group,

LLC., and Comenity Bank for violations of the Telephone Consumer Protection Act (“TCPA”),
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which prohibits any person from using an automated telephone dialing system or artificial voice

to contact another without express consent, and the Fair Debt Collection Practices Act

(“FDCPA”), which prohibits debt collectors from contacting any person who provided a written

notice to cease communications.

        2.       Defendants alleged a third-party named Sybil Sayles owed past-due consumer

debts. Defendants repeatedly attempted to collect these debts from Ms. Newbold. In doing so,

Defendants used an automated telephone dialing system and prerecorded and artificial voices to

contact Ms. Newbold on her cell phone. Defendants did not have Ms. Newbold’s prior express

consent to contact her in this manner.

        3.       Ms. Newbold notified Defendants she was not Ms. Sayles and requested that their

communications stop. Ms. Newbold specifically sent Defendant Halsted Financial, a debt

collector, written notice to cease communications. Despite this notice, Defendants knowingly

and willfully continued to unlawfully contact Ms. Newbold on her cell phone.

        4.       Defendants’ conduct violated the TCPA and the FDCPA, and Ms. Newbold

suffered damages as a result.

                           PARTIES, JURISDICTION, AND VENUE

        5.       Ms. Newbold is a resident of the Commonwealth of Kentucky and resides within

this District.

        6.       Defendant Halsted Financial, LLC., is an Illinois limited liability company

principally located at 8001 North Lincoln Avenue, Suite 500, Skokie, Cook County, Illinois

60077. It is registered to do business within the Commonwealth of Kentucky and performs

significant business within this District.




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       7.      Defendant Weinberg Mediation Group, LLC., is a New York limited liability

company principally located at 3380 Sheridan Drive, Suite 133, Amherst, Erie County, New

York 14226. It performs significant business within this district.

       8.      Defendant Comenity Bank is a Delaware corporation principally located at One

Righter Parkway, Suite 100, Wilmington, New Castle County, Delaware 19803. It is a subsidiary

of ADS Alliance Data Systems, Inc., a Delaware corporation, and manages ADS Alliance’s

private-label and co-branded credit card banking business. Comenity Bank performs significant

business within this District.

       9.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331, due to federal questions regarding 47 U.S.C. § 227, et seq., the Telephone Consumer

Protection Act, and 15 U.S.C. § 1692a, et seq., the Fair Debt Collection Practices Act. Subject

matter jurisdiction is also granted by 15 U.S.C. § 1692k, which provides district courts with

jurisdiction over disputes arising under the FDCPA.

       10.     Venue is proper pursuant to 28 U.S.C. § 1391 and 15 U.S.C. § 1692k, as

Defendants regularly conduct business in this District, Ms. Newbold resides in this District, and

the events that form the basis of this action occurred in this District.

                                   FACTUAL ALLEGATIONS

       11.     Defendants alleged a third-party named Sybil M. Sayles owed them, or their

principals, past-due consumer debt.

       12.     Ms. Newbold and Ms. Sayles are separate persons.

       13.     Upon information and belief, Ms. Sayles is a fifty-four year old, African-

American female.

       14.     Ms. Newbold is a sixty-one year old, Caucasian female.




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         15.   Ms. Newbold does not know Ms. Sayles, and they have no personal or business

relationship. As such, Ms. Newbold never assumed an obligation to pay Ms. Sayles’ debts.

         16.   Ms. Newbold did not personally accrue the alleged debt that Defendants claimed

was owed.

         17.   Defendants had no reason, permission, or authority to contact Ms. Newbold to

collect Ms. Sayles’ alleged debt.

         18.   However, Defendants repeatedly called Ms. Newbold on her cell phone regarding

Ms. Sayles’ alleged debt.

         19.   Defendants Halsted Financial and Comenity Bank contacted Ms. Newbold using

live representatives.

         20.   Defendants Weinberg Mediation and Comenity Bank contacted Ms. Newbold

using prerecorded and artificial voice messages.

         21.   When Ms. Newbold answered Defendants’ calls, there was an unnatural pause

between her greeting and a representative’s introduction or the beginning of a recording. Further,

Ms. Newbold could tell the phone line was transferred after she answered her cell phone but

before a person spoke on the other end or a recording began. These occurrences are indicative of

the phone call being initiated by an automated telephone dialing system.

         22.   Defendants used automated telephone dialing systems to call Ms. Newbold’s cell

phone.

         23.   Ms. Newbold did not give Defendants prior express consent to contact her on her

cell phone using automated telephone dialing systems or prerecorded and artificial voices




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       24.     Ms. Newbold received calls on her cell phone from telephone numbers unknown

to her and unassociated with Defendants. However, after she answered, Ms. Newbold confirmed

it was Defendants using the confusing and unknown numbers.

       25.     Defendants knowingly caused Ms. Newbold’s cell phone caller identification

feature to display telephone numbers unassociated with Defendants’ businesses, a practice

known as number spoofing.

       26.     Defendants intentionally spoofed telephone numbers to obfuscate their identity,

increase the likelihood Ms. Newbold would answer her cell phone, and create a greater chance

that Ms. Newbold would be scammed, harassed, or otherwise convinced to wrongly pay Ms.

Sayles’ alleged debt.

       27.     To stop their calls, Ms. Newbold informed Defendants she was not Ms. Sayles

and did not owe the alleged debt.

       28.     With this information, Defendants knew, or should have known through

reasonable investigation, Ms. Newbold was being subjected to unlawful contact.

       29.     Despite her notice, Defendants continued to call Ms. Newbold’s cell phone using

automated telephone dialing systems, prerecorded and artificial voices, and spoofed telephone

numbers.

       30.     On February 7, 2018, Ms. Newbold specifically sent Defendant Halsted Financial

a letter stating she was not Ms. Sayles and directing it to cease all communications with her,

pursuant to 15 U.S.C. § 1692c(c).

       31.     Halsted Financial continued to contact Ms. Newbold in attempts to collect the

alleged debt after it received her written notice to cease communications.




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       32.     Ms. Newbold suffered damage as a result of Defendants’ unlawful conduct,

including invasion of privacy, loss of use of her cell phone during Defendants’ calls, increased

and involuntary usage of resources on her cell phone plan, emotional distress, inconvenience,

anxiety, undue stress, and harassment.

                                     COUNT 1:
                             WILLFUL VIOLATION OF THE
                        TELEPHONE CONSUMER PROTECTION ACT
                                   (All Defendants)

       33.     Ms. Newbold incorporates by reference the allegations previously set forth in her

Complaint.

       34.     Defendants are persons as defined in 47 U.S.C. § 153(39).

       35.     Defendants Halsted Financial and Comenity Bank contacted Ms. Newbold on her

cell phone using live representatives and automated telephone dialing systems as defined in 47

U.S.C. § 227, et seq.

       36.     Defendants Weinberg Mediation and Comenity Bank contacted Ms. Newbold on

her cell phone using artificial and prerecorded voice messages and automated telephone dialing

systems as defined in 47 U.S.C. § 227, et seq.

       37.     Ms. Newbold did not give Defendants prior express consent to contact her on her

cell phone using automated telephone dialing systems or artificial and prerecorded voices.

       38.     Defendants did not use the automated telephone dialing systems or artificial and

prerecorded voices to contact Ms. Newbold for emergency purposes or regarding debts owed to

the U.S. government.

       39.     When contacting Ms. Newbold, Defendants used services that manipulated her

cell phone’s caller identification information to display telephone numbers not associated with

Defendants’ businesses.



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       40.     Defendants knowingly transmitted the misleading caller identification information

with the intent to harm Ms. Newbold and wrongfully obtain her funds to pay a debt she did not

owe.

       41.     Ms. Newbold informed Defendants that she was not Ms. Sayles and requested that

Defendants stop calling her cell phone.

       42.     Despite her notice and request, Defendants knowingly and intentionally continued

to contact Ms. Newbold using the wrongful methods described above in attempts to collect debt

allegedly owed by Ms. Sayles.

       43.     By engaging in the conduct described above, Defendants knowingly and willfully

violated 42 U.S.C. § 227, et seq.

       44.     Defendants’ actions caused Ms. Newbold to suffer damages, including invasion of

privacy, loss of use of her cell phone during Defendants’ calls, increased and involuntary usage

of her cell phone plan’s resources, emotional distress, inconvenience, anxiety, undue stress, and

harassment.

       45.     Ms. Newbold demands that Defendants immediately cease all telephone

communication with her regarding Ms. Sayles’ alleged debts, and any and all other

communication prohibited by 42 U.S.C. § 227, et seq.

       46.     In addition to actual damages, interest, expenses, and court costs, Ms. Newbold is

entitled to attorney fees and statutory damages pursuant to 42 U.S.C. § 227, et seq.

                                   COUNT 2:
                          NEGLIGENT VIOLATION OF THE
                      TELEPHONE CONSUMER PROTECTION ACT
                                 (All Defendants)

       47.     Ms. Newbold incorporates by reference the allegations previously set forth in her

Complaint.



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       48.     In the alternative, Defendants used automated telephone dialing systems and

prerecorded and artificial voice messages to contact Ms. Newbold on her cell phone.

       49.     Defendants did not have Ms. Newbold’s prior express consent to contact her

using those methods, nor were the calls for emergency purposes or related to debts owed to the

U.S. government.

       50.     When contacting Ms. Newbold, Defendants also used services that manipulated

her cell phone’s caller identification information to display telephone numbers not associated

with Defendants’ businesses in order to harm Ms. Newbold by wrongfully obtaining her funds to

pay debts she did not owe.

       51.     Ms. Newbold informed Defendants she was not Ms. Sayles and requested that all

communication stop.

       52.     Defendants knew, or should have known with reasonable investigation, that Ms.

Newbold was being unlawfully contacted.

       53.     However, Defendants continued to negligently contact Ms. Newbold using the

wrongful methods described above.

       54.     By engaging in this conduct, Defendants violated 42 U.S.C. § 227, et seq.

       55.     Defendants’ actions caused Ms. Newbold to suffer damages, including invasion of

privacy, loss of use of her cell phone during Defendants’ calls, increased and involuntary usage

of her cell phone plan’s resources, emotional distress, inconvenience, anxiety, undue stress, and

harassment.

       56.     Ms. Newbold demands that Defendants immediately cease all telephone

communication with her regarding Ms. Sayles’ alleged debts, and any and all other

communication prohibited by 42 U.S.C. § 227, et seq.




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       57.     In addition to actual damages, interest, expenses, and court costs, Ms. Newbold is

entitled to attorney fees and statutory damages pursuant to 42 U.S.C. § 227, et seq.

                                         COUNT 3:
                              VIOLATION OF THE FAIR DEBT
                              COLLECTION PRACTICES ACT
                                  (Halsted Financial, LLC)

       58.     Ms. Newbold incorporates by reference the allegations previously set forth in this

Complaint.

       59.     Halsted Financial is a debt collector as defined in 15 U.S.C. § 1692a.

       60.     Ms. Newbold is a consumer as defined in 15 U.S.C. § 1692a.

       61.     Ms. Newbold provided Halsted Financial with written notice to cease

communications regarding alleged debt, and it was required to comply with her request.

       62.     However, Halsted Financial continued to contact Ms. Newbold regarding the

alleged debt after receiving her notice.

       63.     Halsted Financial’s actions caused Ms. Newbold to suffer damages, including

invasion of privacy, loss of use of her cell phone during Defendants’ calls, increased and

involuntary usage of her cell phone plan’s resources, emotional distress, inconvenience, anxiety,

undue stress, and harassment.

       64.     In addition to actual damages, interest, expenses, and court costs, Ms. Newbold is

entitled to attorney fees and statutory damages pursuant to 15 U.S.C. § 1692k.

                                    REQUEST FOR RELIEF

       Wherefore, Ms. Newbold demands relief against Defendants as follows:

       a.      Entry of a Judgment to compensate her for damages to which she is entitled,

including but not limited to actual, compensatory, punitive, and statutory damages;




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       b.      Interest on all of the aforementioned amounts at the maximum rate and for the

maximum duration allowed by law;

       c.      Trial by jury on all issues so triable;

       d.      An award of attorney’s fees and costs herein incurred; and

       e.      Any and all other relief to which she may be entitled, including the right to amend

this Complaint to add additional claims or additional parties after conducting appropriate

discovery.


                                                            Respectfully submitted,

                                                            CRAIG HENRY PLC
                                                            James Craig

                                                            /s/ James Craig____________
                                                            239 South Fifth Street, Suite 1400
                                                            Louisville, Kentucky 40202
                                                            Telephone: (502) 614-5962
                                                            Facsimile: (502) 614-5968
                                                            jcraig@craighenrylaw.com

                                                            Counsel for Anne Newbold




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